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 5
                              UNITED STATES DISTRICT COURT
 6                           EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,
 8
                                    Plaintiff,              2:14-CR-0001-TOR
 9

10            vs.
11                                                          Preliminary Order of Forfeiture
      STEVEN RAY ROOT,
12

13
                                    Defendant.

14
            IT IS HEREBY ORDERED THAT:
15

16          As the result of the Defendant’s guilty plea to Count 1 of the Superseding
17 Indictment, charging Conspiracy to Possess with Intent to Distribute

18 Methamphetamine, in violation of 21 U.S.C. §§ 841 and 846, for which the United

19 States sought forfeiture of assets, more particularly described in the Bills of
20 Particulars filed herein, pursuant to 21 U.S.C. § 853, Defendant, STEVEN RAY

21 ROOT, shall forfeit to the United States any property constituting or derived from any

22 proceeds obtained directly or indirectly as result of such offenses and any property

23 used or intended to be used to commit or facilitate the commission of such offenses

24          The Court has determined, based upon the Defendant’s guilty plea and the
25 evidence presented at his change of plea hearing held on October 16, 2014, that the
26 following assets are subject to forfeiture pursuant to 21 U.S.C. § 853, and that the

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     United States has established the requisite nexus between such assets described below,
 1
     and such offense(s):
 2
            REAL PROPERTY
 3
            All that lot or parcel of land, together with its buildings, appurtenances,
 4
            improvements, fixtures, attachments and easements, located at 11852
 5          Sunset Road, Thornton, Washington, legally described as follows:
 6
            Situated in the County of Whitman, State of Washington, and described
 7          as follows:
 8
            A tract situated in the southeast quarter of the northwest quarter and in
 9          the northeast quarter of the southwest quarter of Section 28, Township
10
            20 north, Range 43 East, W.M., described as follows:

11          Commencing at a point in the road on subdivision line 27 feet north of
12
            the center of said Section 28; thence north 0°40′ west 2.50 chains,
            thence north 84°5′ west 9.07 chains; thence south 65°39′ east 7.67
13          chains; thence south 23°29′ east 1.52 chains; thence north 52°13′ east
14
            1.86 chains to the place of beginning.

15           A tract situated in the southwest quarter of the northeast quarter of
16
            Section 28, Township 19 north, Range 43 East, W.M., described as
            follows: Commencing at a point in road on subdivision line 27 feet
17          north of the center of said Section 28; thence north 0°40′ west 165 feet
18          along said subdivision line; thence south 85°28′ east 151 feet; thence
            south 43°22′ east 19 feet to center of road; thence south 49°17′ west 213
19          feet to the place of beginning.
20
            FIREARMS
21

22          a. a Browning Arms Company, Buck Mark, .22 long rifle caliber pistol
            bearing serial number 655NV33992;
23

24          b. a Smith & Wesson, Model 422, .22 long rifle caliber pistol bearing
            serial number TEA1381;
25
26          c. a Walther, Model 922, .22 long rifle caliber pistol bearing serial
            number L324193;
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             d. a Remington Model 581, .22 caliber bolt action rifle bearing serial
 1
             number 1229400; and,
 2
             e. a Winchester, Model 1200, 12 gauge shotgun bearing serial number
 3
             L1397427.
 4
             U.S. CURRENCY
 5

 6           -Approximately $1,657.00 U.S. currency
 7
             Upon the entry of this Order, the United States Attorney General (or a designee)
 8
     is authorized to seize the above-listed assets subject to forfeiture, whether held by the
 9
     Defendant or a third party, and to conduct any discovery proper in identifying,
10
     locating or disposing of property subject to forfeiture, in accordance with Fed. R.
11
     Crim. P. 32.2(b)(3).
12
             Upon entry of this Order, the United States is authorized to commence any
13
     applicable proceeding to comply with statutes governing third party rights, including
14
     giving notice of this Order.
15
             The United States shall publish notice of the order and its intent to dispose of
16
     the property in such a manner as the United States Attorney General may direct.
17
     Pursuant to 21 U.S.C. § 853(n), the United States will post notice of this order on the
18
     official government internet site (www.forfeiture.gov) for at least 30 consecutive
19
     days.
20
             The United States may also, to the extent practicable, provide direct written
21
     notice to any person known to have alleged an interest in the property that is the
22
     subject of this Preliminary Order of Forfeiture, as a substitute for posted internet
23
     notice as to those persons so notified. Any person, other than the above-named
24
     Defendant, asserting a legal interest in the above-listed property may, within thirty
25
     (30) days of the last date of internet posting of notice, or by the date indicated on
26
     direct notice, if sent, whichever is earlier, petition the court for a hearing without a
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     jury to adjudicate the validity of his/her alleged interest in the above-listed forfeited
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     assets and for an amendment of the order of forfeiture, pursuant to 21 U.S.C. § 853(n)
 2
            Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B), this Preliminary Order of
 3
     Forfeiture is final as to the Defendant at the time of sentencing, and is made part of the
 4
     sentence and included in the judgment.
 5
            After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(1)(A)
 6
     and before a hearing on the petition, discovery may be conducted in accordance with
 7
     the Federal Rules of Civil Procedure upon a showing that such discovery is necessary
 8
     or desirable to resolve factual issues.
 9

10
            The United States shall have clear title to the above-listed property following

11
     the Court's disposition of all third-party interests, or, if none, following the expiration

12
     of the period provided in Fed. R. Crim. P. 32.2(c)(2), Rule G(5) and 21 U.S.C. §

13
     853(n), for the filing of third party petitions.

14
            The Court shall retain jurisdiction to enforce this Order, and to amend it as

15
     necessary, pursuant to Fed. R. Crim. P. 32.2(e).

16          ORDERED this 16th day of October, 2014.
17

18

19                                                      Thomas O. Rice
                                                        United States District Judge
20

21 Presented by:

22 Michael C. Ormsby
     United States Attorney
23
     s/Caitlin A. Baunsgard
24
     Caitlin A. Baunsgard
25 Assistant United States Attorney
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